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OAO 440 (Rev. 8/01) Summons in a Civil Action



                                               UNITED STATES DISTRICT COURT
                                                              WESTERN DISTRICT OF PENNSYLVANIA

 JOHN L. ANDERSON, Derivatively on Behalf of Nom inal                                                  SUMMONS IN A CIVIL CASE
 Defendant BLACK BOX CORPORATION,
                                                                                                    CASE NUMBER: No. 2:06-CV-01531 TM H


                                                              Plaintiff,

                                      vs.

 JEFFREY M. BOETTICHER, FREDERICK C. YOUNG,
 ANNA M. BAIRD, KATHLEEN BULLIONS, FRANCIS
 W ERTHEIMBER, MOACYR SAMPAIO, ROGER E.M.
 CROFT, MICHAEL MCANDREW , BRIAN D. YOUNG,
 W ILLIAM F. ANDREW S, THOMAS G. GREIG, W ILLIAM R.
 NEW LIN, MICHAEL E. BARKER, W ILLIAM NORRED, AN D
 RONALD D. FISHER,

                                                              Defendants,

                                          and

 BLACK BOX CORPORATION,

                                                  Nom inal Defendant.



           TO:          (Name and address of defendant)

           R O NALD D. F ISH ER
           99 Kirkstall Road
           Newton, MA 02460-2245



           YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)
           Alfred G. Yates Jr, Esquire (PA17419)
           LAW OFFICE OF ALFRED G. YATES JR, P.C.
           519 Allegheny Building
           429 Forbes Avenue
           Pittsburgh, PA 15219
           412/391-5164

an answer to the complaint which is served on you with this summons, within                                                          twenty (20)                 days after service
o f t h i s s u mmo n s o n yo u , ex c lu s iv e o f t h e d a y o f s er vi ce . I f yo u f ai l t o d o s o , j u d g me n t b y d e fa u lt wi l l b e t a ke n a ga in s t yo u fo r
t h e r el i ef d ema n d ed i n t h e co mp l ai n t . An y an s we r t h at yo u s e rve o n t h e p a r t i es t o t h i s a c t i o n mu s t b e f il ed w i t h t h e C le rk o f t h i s
C o u r t wi t h i n a r e as o n a b l e p e r i o d o f t i me aft e r s er v i c e.




C LER K                                                                                        D ATE




(By) D EPU TY C LER K
                                  Case 2:06-cv-01531-JFC Document 36-3 Filed 01/29/07 Page 2 of 2
OAO 440 (Rev. 8/01) Summons in a Civil Action

                                                                                           RETURN OF SERVICE
                                                                                                              DATE
         Service of the Summons and complaint was made by me (1)
NAME OF SERVER (PRINT)                                                                                        TITLE


     Check one box below to indicate appropriate method of service

             G Served personally upon the third-party defendant. Place where served:


             G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
               discretion then residing therein.
                  Name of person with whom the summons and complaint were left:

             G Returned



             G Other



                                                                                 STATEM ENT OF SERVICE FEES
TRAVEL                                                                  SERVICES                                      TOTAL

                                                                                        DECLARATION OF SERVER

                       I declare under penalty of perjury under the laws of the United States of America that the foregoing information
              contained in the Return of Service and Statement of Service Fees is true and correct.


              Executed on
                                                      Date                              Signature of Server




                                                                                        Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
